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      AO 245B-CAED(Rev. 09/2011) Sheet 1 - Amended Judgment in a Criminal Case        (NOTE: Identify Changes with Asterisks*)



                                    UNITED STATES DISTRICT COURT
                                                         Eastern District of California
                     UNITED STATES OF AMERICA                                       AMENDED JUDGMENT IN A CRIMINAL CASE
                                                                                    (For Offenses Committed On or After November 1, 1987)
                                v.
                     MONICA MARIE HERNANDEZ                                         Case Number: 1:10CR00249-002
                             AKA: Monica Marie Duarte                               Defendant's Attorney: W. Scott Quinlan, Appointed
       Date of Original Judgment:              January 08, 2015
       (Or Date of Last Amended Judgment)

       Reason for Amendment:
          Correction of Sentence on Remand (Fed R. Crim. P. 35(a))                    Modification of Supervision Conditions (18 U.S.C. § 3563(c) or 3583(e))
                                                                                      Modification of Imposed Term of Imprisonment for Extraordinary and
          Reduction of Sentence for Changed Circumstances (Fed R. Crim. P. 35(b))
                                                                                      Compelling Reasons (18 U.S.C. § 3582(c)(1))
                                                                                      Modification of Imposed Term of Imprisonment for Retroactive Amendment
          Correction of Sentence by Sentencing Court (Fed R. Crim. P. 35(c))
                                                                                      (s) to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
          Correction of Sentence for Clerical Mistake (Fed R. Crim. P. 36)            Direct Motion to District Court Pursuant to    28 U.S.C. §2255,
                                                                                          18 U.S.C. §3559(c)(7),      Modification of Restitution Order
      THE DEFENDANT:
           pleaded guilty to count 1 of the First Superseding Indictment.
           pleaded nolo contendere to count(s)      which was accepted by the court.
           was found guilty on count(s)     after a plea of not guilty.
      ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense (s):
                                                                                                                            Date Offense            Count
       Title & Section                         Nature Of Offense
                                                                                                                            Concluded               Number
                                               Conspiracy to Commit Mail Fraud, Wire Fraud, and Bank Fraud                  October 2005
       18 USC § 1349                                                                                                                         One
                                               (CLASS B FELONY)                                                             through May 2007

             The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
      Sentencing Reform Act of 1984.

           The defendant has been found not guilty on count(s)      and is discharged as to such count(s).
           Counts 2-20 are dismissed on the motion of the United States.
           Indictment is to be dismissed by District Court on motion of the United States.
           Appeal rights given.                              Appeal rights waived.

              IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
      change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
      fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of material changes in
      economic circumstances.
                                                                                    1/5/2015
                                                                                    Date of Imposition of Judgment
                                                                                    /s/ Anthony W. Ishii
                                                                                    Signature of Judicial Officer
                                                                                    Anthony W. Ishii, United States District Judge
                                                                                    Name & Title of Judicial Officer
                                                                                    3/16/2015
                                                                                    Date




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      AO 245B-CAED(Rev. 09/2011) Sheet 2 - Imprisonment
      DEFENDANT:MONICA MARIE HERNANDEZ                                                                                                Page 2 of 6
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                                                                IMPRISONMENT

      The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
      12 months.

            No TSR: Defendant shall cooperate in the collection of DNA.

            The court makes the following recommendations to the Bureau of Prisons:
            The Court recommends that the defendant be incarcerated in a California facility, specifically Dublin, but only insofar as this
            accords with security classification and space availability.

            The defendant is remanded to the custody of the United States Marshal.

             The defendant shall surrender to the United States Marshal for this district
                    at     on     .
                    as notified by the United States Marshal.

             The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                     before 2:00 PM on 3/16/2015 .
                     as notified by the United States Marshal.
                     as notified by the Probation or Pretrial Services Officer.
             If no such institution has been designated, to the United States Marshal for this district.

                                                                      RETURN
      I have executed this judgment as follows:




              Defendant delivered on                                                       to
      at                                                  , with a certified copy of this judgment.



                                                                             United States Marshal


                                                                             By Deputy United States Marshal




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      AO 245B-CAED(Rev. 09/2011) Sheet 3 - Supervised Release
      DEFENDANT:MONICA MARIE HERNANDEZ                                                                                                  Page 3 of 6
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                                                                SUPERVISED RELEASE
       Upon release from imprisonment, the defendant shall be on supervised release for a term of :
       36 months.

       The defendant must report to the probation office in the district to which the defendant is released within seventy-two hours of
       release from the custody of the Bureau of Prisons.

       The defendant shall not commit another federal, state or local crime.

       The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
       substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two (2) periodic drug
       tests thereafter, not to exceed four (4) drug tests per month.

             The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
             substance abuse.

             The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

             The defendant shall cooperate in the collection of DNA as directed by the probation officer.

             The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
             seq.), as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or
             she resides, works, is a student, or was convicted of qualifying offense.

             The defendant shall participate in an approved program for domestic violence.

       If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
       with the Schedule of Payments sheet of this judgment.

       The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
       conditions on the attached page.
                                             STANDARD CONDITIONS OF SUPERVISION
       1.      The defendant shall not leave the judicial district without permission of the court or probation officer;
       2.      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
       3.      the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
       4.      the defendant shall support his or her dependents and meet other family responsibilities;
       5.      the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or
               other acceptable reasons;
       6.      the defendant shall notify the probation officer ten days prior to any change in residence or employment;
       7.      the defendant shall refrain from excessive use of alcohol;
       8.      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
       9.      the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
               convicted of a felony unless granted permission to do so by the probation officer;
       10.     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit
               confiscation of any contraband observed in plain view by the probation officer;
       11.     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
               enforcement officer;
       12.     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
               the permission of the court;
       13.     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s
               criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
               confirm the defendant’s compliance with such notification requirement.




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      AO 245B-CAED(Rev. 09/2011) Sheet 3 - Supervised Release
      DEFENDANT:MONICA MARIE HERNANDEZ                                                                                                  Page 4 of 6
      CASE NUMBER:1:10CR00249-002

                                               SPECIAL CONDITIONS OF SUPERVISION
       1.      The defendant shall submit to the search of her person, property, home, and vehicle by a United States probation officer, or
               any other authorized person under the immediate and personal supervision of the probation officer, based upon reasonable
               suspicion, without a search warrant. Failure to submit to a search may be grounds for revocation. The defendant shall warn
               any other residents that the premises may be subject to searches pursuant to this condition.
       2.      The defendant shall not dispose of or otherwise dissipate any of her assets until the fine and/or restitution ordered by this
               Judgment is paid in full, unless the defendant obtains approval of the Court or the probation officer.
       3.      The defendant shall provide the probation officer with access to any requested financial information.
       4.      The defendant shall not open additional lines of credit without the approval of the probation officer.
       5.      The defendant shall be monitored for a period of 12 months, with location monitoring technology, which may include the use
               of radio frequency (RF) or Global Positioning System (GPS) devices, at the discretion of the probation officer. The defendant
               shall abide by all technology requirements and shall pay the costs of location monitoring based upon their ability to pay as
               directed by the probation officer. In addition to other court-imposed conditions of release, the defendant’s movement in the
               community shall be restricted as follows:

               a. The defendant shall be restricted to her residence at all times except for employment; education; religious services;
               medical, substance abuse or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other
               activities as pre-approved by the probation officer; (Home Detention).
       6.      The defendant shall consent to the probation officer and/or probation service representative conducting periodic unannounced
               examinations of (a) any computer, or (b) computer-related device, or (c) equipment that has an internal or external modem
               which is in the possession or control of the defendant. The defendant consents to retrieval and copying of all data from any
               such computer, computer-related device, or equipment as well as any internal or external peripherals to ensure compliance
               with conditions. The defendant consents to removal of such computer, computer-related device, and equipment for purposes
               of conducting a more thorough inspection and analysis.

               The defendant consents to having installed on any computer, computer-related device, and equipment, at the defendant's
               expense, any hardware or software systems to monitor the use of such computer, computer-related device, and equipment at
               the direction of the probation officer, and agrees not to tamper with such hardware or software and not install or use any
               software programs designated to hide, alter, or delete her computer activities. The defendant consents to not installing new
               hardware without the prior approval of the probation officer.
       7.      The defendant shall provide all requested business/personal phone records to the probation officer. The defendant shall
               disclose to the probation officer any existing contracts with telephone line/cable service providers. The defendant shall
               provide the probation officer with written authorization to request a record of all outgoing or incoming phone calls from any
               service provider.
       8.      The defendant shall consent to third-party disclosure to any employer or potential employer, concerning any computer-related
               restrictions that are imposed upon her. This includes any activities in which you are acting as a technician, advisor, or
               consultant with or without any monetary gain or other compensation.
       9.      The defendant is restricted from employment in the real estate field except as approved by the probation officer, and this shall
               include notifying any prospective employer about this conviction.
       10.     You are restricted from employment having fiduciary responsibilities except as approved by the probation officer, including
               informing or notifying any perspective employer of this conviction.




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      AO 245B-CAED(Rev. 09/2011) Sheet 5 - Criminal Monetary Penalties
      DEFENDANT:MONICA MARIE HERNANDEZ AKA: Monica Marie Duarte                                                                         Page 5 of 6
      CASE NUMBER:1:10CR00249-002

                                                    CRIMINAL MONETARY PENALTIES

                The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                                 Assessment                         Fine                 Restitution
                TOTALS                                            $100.00                                               $866,980.96
            The determination of restitution is deferred until           . An Amended Judgment in a Criminal Case (AO 245C) will be entered
            after such determination.

            The defendant must make restitution (including community restitution) to the following payees in the amount listed below. SEE
            ATTACHMENT A for breakdown of amounts per property.

            If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
            otherwise in the priority order or percentage payment colunm below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
            victims must be paid before the United States is paid.

       Name of Payee                                               Total Loss*       Restitution Ordered Priority or Percentage
       FDIC Restitutions
       P.O. Box 971774                                                    $0.00                   $866,980.96
       Dallas, TX 75397-1774
       Totals                                                     $____                           $866,980.96
            Restitution amount ordered pursuant to plea agreement $

            The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
            the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
            subject to penalities for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

            The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                    The interest requirement is waived for the            fine      restitution

                    The interest requirement for the           fine       restitution is modified as follows:


            If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter and payment shall be
            through the Bureau of Prisons Inmate Financial Responsibility Program.

            If incarcerated, payment of the restitution is due during imprisonment at the rate of not less than $25 per quarter and payment
            shall be through the Bureau of Prisons Inmate Financial Responsibility Program.
      *Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
      on or after September 13, 1994, but before April 23, 1996.




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      AO 245B-CAED(Rev. 09/2011) Sheet 6 - Schedule of Payments
      DEFENDANT:MONICA MARIE HERNANDEZ AKA: Monica Marie Duarte                                                                            Page 6 of 6
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                                                          SCHEDULE OF PAYMENTS
              Payment of the total fine and other criminal monetary penalties shall be due as follows:

       A.              Lump sum payment of $         867,080.96 due immediately, balance due
                             Not later than      , or
                             in accordance          C,       D,     E,or        F below; or
       B.              Payment to begin immediately (may be combined with              C,        D,    or    F below); or

       C.              Payment in equal    (e.g. weekly, monthly, quarterly) installments of $       over a period of          (e.g. months or
                       years), to commence     (e.g. 30 or 60 days) after the date of this judgment; or

       D.              Payment in equal    (e.g. weekly, monthly, quarterly) installments of $     over a period of     (e.g. months or
                       years), to commence     (e.g. 30 or 60 days) after release from imprisonment to a term of supervision; or

       E.              Payment during the term of supervised release will commence within 120 days after release from imprisonment.
                       The United States Probation Officer assigned to Monica Marie Hernandez shall set a schedule ordering payments
                       depending on the defendant's monthly income, but not less than $50.00 per month, during the period of supervised
                       release.

       F.              Special instructions regarding the payment of crimimal monetary penalties:

       Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
       due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
       Inmate Financial Responsibility Program, are made to the clerk of the court.

       The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

               Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate: Total restitution in the amount of $866,980.96 is to be joint and several with co-defendant
       Eric Ray Hernandez (1:10-cr-00249-AWI-BAM-1). $289,224.10 of the total restitution amount, for 3715 Kathy Suzanne Way, is to
       be joint and several with co-defendants Eric Ray Hernandez (1:10-cr-00249-AWI-BAM-1) and Evelyn Brigget Sanchez (1:10-cr-
       00249-AWI-BAM-3 ).

               The defendant shall pay the cost of prosecution.

               The defendant shall pay the following court cost(s):

               The defendant shall forfeit the defendant's interest in the following property to the United States:
               Order for Forfeiture Money Judgment filed December 24, 2014, is hereby made final.

       Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
       (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.




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                                                                           ATTACHMENT A
                                    Case 1:10-cr-00249-JLT-BAMRestitution
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                                                                          Amount
                                                                        Monica Marie Hernandez


                                                                       Restitution-      Restitution-
               Property                     Originating Lender         First Loan       Second Loan        Entity to Receive Resitution          Reference
3715 Kathy Suzanne Way, Bakersfield      Long Beach Mortgage Co.        $209,108.72        $80,115.38                  FDIC             Bates 35832, 35841
3706 Kathy Suzanne Way, Bakersfield      Long Beach Mortgage Co.        $249,427.07       $109,330.19                  FDIC             Bates 23866, 23871
11418 Valley Forge Way, Bakersfield      Long Beach Mortgage Co.        $149,080.86        $69,918.74                  FDIC             Bates 21557, 21569

                                                                                                  Total:          $866,980.96


Restitution for the above properties is to be joint and several with co-defendant Eric Ray Hernandez.
Restitution for 3715 Kathy Suzanne Way is to be joint and several with co-defendants Eric Ray Hernandez and Evelyn Sanchez.




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